           Case 4:24-cv-00863-P           Document 1         Filed 09/11/24         Page 1 of 1     PageID 1
BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
BM318, LLC                                                   §
                                                             §    Case No.: 20−42789−mxm11
                                           Debtor(s)         §    Chapter No.: 11
BM318, LLC et al.                                            §
                                           Plaintiff(s)      §    Adversary No.:    21−04051−mxm
     vs.                                                     §
The Dixon Water Foundation et al.                            §    Civil Case No.:
                                           Defendant(s)      §
                                                             §
BM318, LLC c/o Timothy Barton, President; Timothy            §
Barton                                                       §
                                    Appellant(s)             §
      vs.                                                    §
Courtney C. Thomas, Receiver; Dixon Water                    §
Foundation; Lumar Land & Cattle, LLC                         §
                                    Appellee(s)              §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other Filing fee has been paid
                Copies of: Notice of appeal and related documents

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (817) 850−6600.



DATED: 9/11/24                                    FOR THE COURT:
                                                  Stephen J Manz, Clerk of Court

                                                  by: /s/Jeanette Almaraz, Deputy Clerk
